Case 5:22-cr-50026-TLB Document 65   Filed 01/23/23 Page 1 of 7 PageID #: 282
Case 5:22-cr-50026-TLB Document 65   Filed 01/23/23 Page 2 of 7 PageID #: 283
Case 5:22-cr-50026-TLB Document 65   Filed 01/23/23 Page 3 of 7 PageID #: 284
Case 5:22-cr-50026-TLB Document 65   Filed 01/23/23 Page 4 of 7 PageID #: 285
Case 5:22-cr-50026-TLB Document 65   Filed 01/23/23 Page 5 of 7 PageID #: 286
Case 5:22-cr-50026-TLB Document 65   Filed 01/23/23 Page 6 of 7 PageID #: 287
Case 5:22-cr-50026-TLB Document 65   Filed 01/23/23 Page 7 of 7 PageID #: 288
